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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


SYMBOLOGY INNOVATIONS LLC,                      )
                                                )
                       Plaintiff,               )
                                                )   C.A. No. 1:19-cv-01021-RGA
       v.                                       )
                                                )
DURACELL INC.,                                  )
                                                )
                       Defendant.               )


                          JOINT STIPULATION OF DISMISSAL

       Plaintiff Symbology Innovations LLC and Defendant Duracell U.S. Operations, Inc.,

pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, herby move for an

order dismissing all claims by Plaintiff against Defendant WITH PREJUDICE and

counterclaims by Defendant against Plaintiff WITHOUT PREJUDICE. Each party shall bear

its own costs, expenses, and attorneys’ fees.




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Dated: August 13, 2019                      Respectfully submitted,


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